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       EXHIBIT
         “3”
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   H                                                           APPROVAL OF SETTLEMENT; GRANTING
   Only the Westlaw citation is currently available.           IN PART AND DENYING IN PART MOTION
                                                                   FOR ATTORNEY'S FEES AND COSTS
               United States District Court,                 EDWARD J. DAVILA, United States District Judge
                    San Jose Division.                            *I Stephanie Rose, Sandra Ramirez, Shannon
                    San Jose Division                        Johnson, Amin Makin, Carol Duke, Jack Poster,
     Stephanie Rose, on behalf of herself and all others     and Freddericka Bradshaw ("Plaintiffs") move for
               similarly situated, Plaintiffs,               final approval of the parties' proposed Settlement
                              v.                             Agreement and for attorney's fees and costs. Bank
     Bank of America Corporation, and FIA Card Ser-          of America Corporation, Bank of America, N.A.,
                  vices, N.A., Defendants.                   and FIA Card Services, N.A. (collectively,
      Carol Duke and Jack Poster, on behalf of them-         "Defendants") do not object to the motions in the
     selves and all others similarly situated, Plaintiffs,   context of the parties' proposed settlement.
                              v.
    Bank of America, N.A.; Bank of America Corpora-               The final approval hearing was held on April 4,
      tion; and FIA Card Services, N.A., Defendants.         2014. For the reasons explained below, the motion
                                                             for final approval is GRANTED. The motion for at-
              Case No.: 5:11-CV-02390-EJD;                   torney's fees and costs is GRANTED IN PART
                   5:12-CV-04009-EJD                         AND DENIED IN PART.
          5: 11-cv-02390Signed August 29, 2014
                                                             I. BACKGROUND
   Douglas James Campion, Law Offices of Douglas                  The proposed Settlement Agreement would re-
   J. Campion, Joshua B. Swigart, Hyde & Swigart,            solve all claims in the above-entitled actions as well
   Mark Daniel Ankcorn, Ankcorn Law Firm, San                as claims in the following actions: Ramirez v. Bank
   Diego, CA, Beth E. Terrell, Terrell Marshall Daudt        of Am., NA., Case No. 14-CV-02175-EJD
   & Willie PLLC, Seattle, WA, Daniel M. Hutchin-            (N.D.Cal.); Johnson v. Bank of Am. Corporation,
   son, Jonathan David Selbin, Nicole Diane Sugnet,          Case No. 14-CV-02177-EJD (N.D.Cal.); Makin v.
   Lieff Cabraser Heimann & Bernstein, LLP, San              Bank of Am., NA., Case No. 14-CV-02176-EJD
   Francisco, CA, Seyed Abbas           Kazerounian,         (N.D.Cal.); and Bradshaw v. Bank of Am. Corp,
   Kazerouni Law Group, APC, Costa Mesa, CA,                 13-CV-0431 LAB (JLB) (S.D.Cal.).
   Douglas I. Cuthbertson, Lieff Cabraser Heimann
   and Bernstein, LLP, New York, NY, Matthew Ryan                 Plaintiffs brought these actions alleging that
   Wilson, Meyer Wilson Co., LPA, Columbus, OH,              Bank of America engaged in a systematic practice
   for Plaintiffs.                                           of calling or texting consumers' cell phones through
                                                             the use of automatic telephone dialing systems and/
   Felicia Yangru Yu, Abraham Joshua Colman, Mi-             or an artificial or prerecorded voice without their
   chael A. Garabed, Raymond Yoon Ho Kim, Reed               prior express consent, in violation of the Telephone
   Smith, LLP, Jordan Seungjin YU, Yu/Mohandesi              Consumer Protection Act ("TCPA"), 47 U.S.C. §
   LLP, Los Angeles, CA, Marc Albert Lackner, Ben-           227(b)(l)(A). Bank of America denies all of
   jamin David Spohn, David S. Reidy, Matthew                Plaintiffs' allegations and argues that it had prior
   James Brady, Reed Smith LLP, San Francisco, CA,           express consent to make automated, prerecorded
   for Defendants.                                           calls to Plaintiffs and Class Members on their cell
                                                             phones. The TCPA permits claimants to recover

     ORDER GRANTING MOTION FOR FINAL




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   statutory damages in the amount of $500 per viola-        or
   tion of the Act, and up to $1,500 per willful viola-
   tion. 47 U.S.C. § 227(b). In addition, the TCPA           (3) received one or more non-emergency, default
   permits claimants to seek injunctive relief to pre-       servicing text messages from Bank of America
   vent future violations.                                   regarding a Bank of America Credit Card Ac-
                                                             count to a cellular telephone through the use of
         The parties conducted discovery and reached a       an automatic telephone dialing system and/or an
    tentative settlement after mediation. On December        artificial or prerecorded voice between February
    6, 2013, the Court granted preliminary approval of       22, 2009, and December 31, 2010 (Credit Card
    the Settlement Agreement, conditionally certified        Texts). This excludes those identified individuals
  · the proposed Settlement Class, designated class          who are included in paragraph (2) above.
    representatives, appointed class counsel, approved
    the settlement administration plan, and approved a          The Court granted preliminary approval to the
    plan for giving notice to Class Members. The Court     parties' proposed notice procedure. The Court is
    also set deadlines for objecting to the Settlement     now satisfied that the notice procedure was carried
    Agreement and for requesting exclusion from the        out according to the applicable standards and that it
    settlement class.                                      has satisfied the requirements of the federal Class
                                                           Action Fairness Act ("CAFA"), 28 U.S.C. § 1715,
       The fmal approval hearing was held on April 4,      and Fed. R. Civ. P. 23.
   2014.
                                                              I. Notice under the Class Action Fairness Act
   II. Motion for Final Approval of Settlement                  The Class Action Fairness Act ("CAF A") re-
          a. Final certification of settlement class       quires defendants to send to the appropriate state
         i. Class definition and notice to the class       and federal officials a copy of the complaint, notice
        The parties agreed to certification of a Settle-   of scheduled judicial hearings, proposed or final
   ment Class defined as all persons in the United         notifications to class members, proposed or final
   States who:                                             class settlements, any other contemporaneous
                                                           agreements between the parties, any final judg-
    (1) received one or more non-emergency, default        ments or notice of dismissal, and the names of class
    servicing telephone calls from Bank of America         members if feasible. See 28 U.S.C. § 1715(b)(1-8).
    regarding a Bank of America Residential Mort-          The Court is satisfied that the notices were sent. See
    gage Loan Account to a cellular telephone              Docket No. 72.
    through the use of an automatic telephone dialing
    system and/or an artificial or prerecorded voice                     2. Notice under Rule 23
    between August 30, 2007 and January 31, 2013                The notice program satisfied both Fed. R. Civ.
    (Mortgage Calls);                                      P. Rule 23(c)(2)(B) (requiring that the court
                                                           provide "the best notice that is practicable under the
    *2 or                                                  circumstances") and 23(e)(1) (requiring court to
                                                           "direct notice in a reasonable manner to all class
    (2) received one or more non-emergency, default        members who would be bound by [settlement)"). In
    servicing telephone calls from Bank of America         class action settlements, it is common practice to
    regarding a Bank of America Credit Card Ac-            provide a single notice program that satisfies both
    count to a cellular telephone through the use of       of these notice standards. See David F. Herr, An-
    an automatic telephone dialing system and/or an        notated Manual for Complex Litigation § 21.31 (4th
    artificial or prerecorded voice between May 16,        ed. 2005).
    2007, and January 31, 2013 (Credit Card Calls);




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        In this case, postal mail was well suited for loc-                     ii. Scope of release
   ating and notifYing class members, since the viola-            The parties have agreed that upon entry of final
   tions by defendant arose out of auto-dialed tele-         approval of the Settlement Agreement, the Class
   phone calls and text messages made to cellular tele-      Members who did not opt out will provide a release
   phones, which typically have a name and physical          tailored to the practices at issue in this case. Spe-
   mailing address associated with them.                     cifically, they will release all claims "that arise out
                                                             of or relate" to the "use of an 'automatic telephone
        The Court reviewed and approved these notices        dialing system' or 'artificial or prerecorded voice'
   before they were disseminated and found that they         to contact or attempt to contact Settlement Class
   were written in plain language. The notice clearly        Members."
   stated the nature of the action; the class definition;
   the class claims, issues, and defenses; that class                         iii. Final certification
   members could appear through counsel; when and                 The parties jointly moved the Court to resolve
   how class members could elect to be excluded; and         this case as a Settlement Class. In order to certifY a
   the binding effect of a class judgment on class           Settlement Class, the requirements of Rule 23 must
   members. See Fed. R. Civ. P. 23(c)(2)(8). It also         generally be satisfied and each are considered here.
   informed class members of the amount of attorneys'        See Hanlon v. Chrysler Corp.. 150 F.3d I 0 II, I 019
   fees requested by Class Counsel. Fed. R. Civ. P.          (9th Cir. I 998) (citing Amchem Prods., Inc. v.
   23(h)( I).                                                Windsor, 521 U.S. 591, 613 (1997)). In assessing
                                                             Rule 23 requirements in the settlement context, a
        *3 During the preliminary approval hearing,          court may consider that there will be no trial. See
   the Court requested the parties insert language in        Amchem, 521 U.S. at 620 ("court need not inquire
   the settlement notice documents to notifY class           whether the case, if tried, would present intractable
   members that they may be entitled to statutory            management problems ... for the proposal is that
   damages of $500 to $1500 per violation. The Court         there be no trial.").
   also asked the parties to improve accessibility to in-
   formation regarding the Settlement Agreement for               For certification of a settlement class, Rule
   Spanish language-only Class Members. The parties          23(a) requires: (1) numerosity, (2) commonality,
   complied with both requests.                              (3) typicality, and (4) adequacy of representation.
                                                             Under Rule 23(b)(3) a class action must meet two
        The Court finds that the notice was reasonably       additional requirements: (I) common questions
   calculated under the circumstances to apprise the         must "predominate over any questions affecting
   Settlement Class of the pendency of this action, all      only individual members;" and (2) class resolution
   material elements of the Settlement, the opportunity      must be "superior to other available methods of fair
   for Settlement Class Members to exclude them-             and efficient adjudication of the controversy."
   selves from, object to, or comment on the settle-
   ment and to appear at the final approval hearing.               In granting preliminary approval of the Settle-
   The notice was the best notice practicable under the      ment Agreement, the Court held that the require-
   circumstances, satisfYing the requirements of Rule        ments of Rule 23(a) and Rule 23(b)(3) were satis-
   23(c)(2)(8); provided notice in a reasonable man-         fied. Having fully reviewed the record, the Court
   ner to all class members, satisfYing Rule                 finds that the Settlement Agreement continues to
   23(e)(1 )(B); was adequate and sufficient notice to       satisfY Rule 23(a) and Rule 23(b)(3).
   all Class Members; and, complied fully with the
   laws of the United States and of the Federal Rules          b. Final Approval of the Settlement Agreement
   of Civil Procedure, due process and any other ap-                     i. Applicable legal standards
   plicable rules of court.                                       This court may approve the class action settle-




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   ment after hearing and upon a finding that the set-       that of certain class members to infect the negoti-
   tlement is "fair, reasonable, and adequate." Fed. R.      ations. Staton v. Boeing Co., 327 F.3d 938, 960 (9th
   Civ. P. 23(e)(l)(C). Therefore, the question is "not      Cir. 2003). A few such signs are:
   whether the final product could be prettier, smarter,
   or snazzier, but whether it is fair, adequate, and free    (1) "when counsel receive a disproportionate dis-
   from collusion." Hanlon, 150 F.3d at 1027. Further,        tribution of the settlement, or when the class re-
   it is "the settlement taken as a whole, rather than        ceives no monetary distribution but class counsel
   the individual component parts, that must be ex-           are amply rewarded," Hanlon, 150 F.3d at 1021;
   amined for overall fairness." !d. at 1026.                 see Murray v. GMAC Mortg. Corp., 434 F.3d
                                                              948, 952 (7th Cir. 2006); Crawford v. Equ{fax
         *4 A settlement under Rule 23(e) requires that       Payment Servs., Inc., 201 F.3d 877, 882 (7th Cir.
   the Court balance a number of factors, including:          2000);
   (1) the strength of the plaintiffs case; (2) the risk,
   expense, complexity, and likely duration of further        (2) when the parties negotiate a "clear sailing" ar-
   litigation; (3) the risk of maintaining class action       rangement providing for the payment of attor-
   status throughout trial; (4) the amount offered in         neys' fees separate and apart from class funds,
   settlement; (5) the extent of discovery completed;         which carries "the potential of enabling a defend-
   (6) the experience and views of counsel; (7) the           ant to pay class counsel excessive fees and costs
   presence of a governmental participant; and (8) the        in exchange for counsel accepting an unfair set-
   reaction of the class members to the proposed set-         tlement on behalf of the class," Lobatz v. U.S. W.
   tlement. Churchill Viii., LLC v. Gen. Elec., 361           Cellular of California, Inc., 222 F.3d 1142, 1148
   F.3d 566, 575 (9th Cir. 2004).                             (9th Cir. 2000); see Weinberger v. Great N.
                                                              Nekoosa Corp., 925 F.2d 518, 524 (1st Cir. 1991)
        Prior to formal class certification, there is an      ("[L]awyers might urge a class settlement at a
   even greater potential for a breach of fiduciary duty      low figure or on a less-than-optimal basis in ex-
   owed the class during settlement. Accordingly,             change for red-carpet treatment on fees."); and
   such agreements must withstand an even higher
   level of scrutiny for evidence of collusion or other       (3) when the parties arrange for fees not awarded
   conflicts of interest than is ordinarily required un-      to revert to defendants rather than be added to the
   der Rule 23(e) before securing the court's approval        class fund, see Milfasihi v. Fleet Mortg. Corp ..
   as fair. Hanlon, 150 F.3d at I 026; Mars Steel Cmp.        356 F.3d 781, 785 (7th Cir. 2004) (Posner, J.).
   v. Continental Jll. Nat'! Bank & Trust Co. of Chica-
   go, 834 F.2d 677, 681 (7th Cir. 1987) (Posner, J.)            ii. The strength of the Plaintifrs case and the
   ("[W]hen class certification is deferred, a more            risk, expense, complexity, and likely duration of
   careful scrutiny of the fairness of the settlement is                         further litigation
   required. "); Weinberger v. Kendrick, 698 F.2d 61,              Plaintiffs argue that they believe they have a
   73 (2d Cir. 1982) (Friendly, J.)(reviewing courts         strong case, but that the case raised several novel
   must employ "even more than the usual care"); see         legal issues that favor approving a settlement. In
   also Manual for Complex Litig. § 21.612 (4th ed.          particular, the parties have competing interpreta-
   2004).                                                    tions of what constitutes "prior express consent"
                                                             under the TCPA based on the FCC's January 4,
        Collusion may not always be evident on the           2008 declaratory ruling, In the Matter of Rules and
   face of a settlement, and courts therefore must be        Regulations Implementing the Telephone Consumer
   particularly vigilant not only for explicit collusion,    Protection Act of 1991, 23 F.C.C.R. 559.
   but also for more subtle signs that class counsel
   have allowed pursuit of their own self-interests and          Having reviewed the parties' statements regard-




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   ing their dispute and the relevant authorities, the       vor of approving the Settlement Agreement.
   Court finds that both parties have legitimate and
   material positions. Furthermore, even if Plaintiffs              vi. The experience and views of counsel
   prevailed at trial, the sheer size of the award against        Class Counsel are experienced litigators. Sev-
   Defendants, who could be liable for $500 or $1 ,500       eral of the attorneys have participated in a large
   per violation for potentially millions of violations,     number of TCPA class action settlements. This
   would likely raise significant post-trial concerns.       factor weighs in favor of approval.
   Such an award would almost certainly be appealed,
   potentially reversed, and litigation would not be re-       vii. The presence of a governmental participant
   solved for a significant amount oftime.                         Although CAFA notice was sent to various
                                                             governmental entities, none sought to participate in
        *5 In light of these considerations, the Court       the settlement proceedings by objection or com-
   finds that factors 1 and 2 weigh in favor of granting     ment. Thus, this factor weighs in favor of approval.
   final approval.
                                                                 viii. The reaction of the class members to the
      iii. The risk of maintaining class action status                         proposed settlement
                       throughout trial                           Out of about 7 million individuals in the Class,
         As the parties point out, "[c]ourts have split on   227,701 individuals have made claims, 16 have
   class certification in TCPA cases, increasing the         made objections, and 390 opted out. While low, the
   risk of maintaining the class action through trial."      participation rate is in line with other settlements of
   Arthur v. Sallie Mae, Inc., 2012 WL 4075238               this size. Having reviewed the objections, the Court
   (W.D.Wash. Sept. 17, 2012). This factor weighs in         finds that no Class Member has stated grounds that
   favor of granting final approval.                         would provide a substantial reason to deny approv-
                                                             al. Thus, this factor weighs in favor of approval.
           iv. The amount offered in settlement
        The Settlement Agreement requires Defendants             ix. The absence of collusion in the settlement
   to pay over $32 million dollars into a non-                                      procedure
   reversionary Settlement Fund. The parties have de-              The Settlement Agreement is the result of ne-
   scribed this recovery as the largest "ever obtained       gotiations between the parties as well as three full-
   in a TCPA class action." As discussed further be-         day mediations presided over by the Honorable Ed-
   low, the Court has determined that the amount of          ward A. Infante, Ret.. The parties represent that ne-
   the Settlement Fund, considered in light of the size      gotiations were hard-fought and adversarial, and the
   of the class, is in line with recoveries obtained in      parties' positions were only reconciled by Judge In-
   similar TCPA class action settlements.                    fante's proposal. Judge Infante's declaration, at-
                                                             tached to the Motion for Final Approval, lends sup-
           v. The extent of discovery completed              port to the parties' representations regarding the set-
        A sufficient amount of discovery was com-            tlement procedure.
   pleted. Plaintiffs claim that they reviewed thou-
   sands of pages of documents, took the depositions              Furthermore, none of the three "subtle signs"
   of five different 30(b)(6) witnesses, and success-        of collusion described in In re Bluetooth are present
   fully moved to compel discovery in the Ramirez ac-        here: 1) Class counsel are not receiving a dispro-
   tion. In addition, Bank of America voluntarily            portionate distribution of the settlement because
   provided Class Counsel with, and Class Counsel re-        25% is the standard allocation (and administration
   viewed, the call record data. The parties particip-       costs are reasonable considering the size of the
   ated in three full-day mediations before coming to a      class), 2) there is no "clear sailing" arrangement be-
   tentative agreement. Thus, this factor weighs in fa-      cause attorney's fees are paid out of the class fund,




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   and 3) the parties did not arrange for fees not awar-     Third Circuit Task Force, 108 F.R.D. 237, 250
   ded to revert back to defendants; rather, fees not        (1985) (purpose of common-fund exception is to
   awarded will be added to the class fund.FNI               "avoid the unjust enrichment of those who benefit
                                                             from the fund that is created, protected, or in-
            FN 1. Class Counsel represents that the Set-     creased by the litigation and who otherwise would
            tlement Agreement is non-reversionary. A         bear none of the litigation costs"). The Ninth Cir-
            review of the Settlement Agreement con-          cuit has approved two different methods for calcu-
            firms this; specifically, Sections 2.34 and      lating a reasonable attorneys' fee depending on the
            4.04.                                            circumstances.

         *6 Thus, this factor weighs in favor of approv-          The "lodestar method" is appropriate in class
   al.                                                       actions brought under fee-shifting statutes (such as
                                                             federal civil rights, securities, antitrust, copyright,
    III. Motion for attorney's fees and costs and for        and patent acts), where the relief sought-and ob-
   service awards to the class representatives               tained-is often primarily injunctive in nature and
                a. Applicable legal standards                thus not easily monetized, but where the legislature
         While attorneys' fees and costs may be awarded      has authorized the award of fees to ensure com-
    in a certified class action where so authorized by       pensation for counsel undertaking socially benefi-
    law or the parties' agreement, Fed. R. Civ. P. 23(h),    cial litigation. See Hanlon, 150 F.3d at 1029; In re
   courts have an independent obligation to ensure that      General Motors Corp. Pick-Up Truck Fuel Tank
   the award, like the settlement itself, is reasonable,     Prods. Liability Litig., 55 F.3d 768, 821 (3d Cir.
   even if the parties have already agreed to an             1995).
   amount. See Staton, 327 F.3d at 963-64; Knisley v.
   Network Assoc., 312 F.3d 1123, 1125 (9th Cir.                   The lodestar figure is calculated by multiplying
   2002); Zucker v. Occidental Petroleum Corp., 192          the number of hours the prevailing party reasonably
   F.3d 1323, 1328-29 & n. 20 (9th Cir. 1999). The           expended on the litigation (as supported by ad-
   reasonableness of any fee award must be con-              equate documentation) by a reasonable hourly rate
   sidered against the backdrop of the "American             for the region and for the experience of the lawyer.
   Rule," which provides that courts generally are           Staton, 327 F.3d at 965. Though the lodestar figure
   without discretion to award attorneys' fees to a pre-     is "presumptively reasonable," Cunningham v.
   vailing plaintiff unless (1) fee-shifting is expressly    Cnty. of Los Angeles, 879 F.2d 481, 488 (9th Cir.
   authorized by the governing statute; (2) the oppon-       1988), the court may adjust it upward or downward
   ents acted in bad faith or willfully violated a court     by an appropriate positive or negative multiplier re-
   order; or (3) "the successful litigants have created a    flecting a host of "reasonableness" factors,
   common fund for recovery or extended a substan-           "including the quality of representation, the benefit
   tial benefit to a class." Alyeska Pipeline Serv. Co. v.   obtained for the class, the complexity and novelty
   Wilderness Soc., 421 U.S. 240, 275 (1975)                 of the issues presented, and the risk of nonpay-
   (Brennan, J., dissenting); accord Zambrano v. City        ment," Hanlon, !50 F.3d at 1029 (citing Kerr v.
   of Tustin, 885 F.2d 1473, 1481 & n. 25 (9th Cir.          Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir.
   1989).                                                    1975)). Foremost among these considerations,
                                                             however, is the benefit obtained for the class. See
        The award of attorneys' fees in a class action       Hensley v. Eckerhart, 461 U.S. 424, 434-36 (1983);
   settlement is often justified by the common fund or       McCown v. City of Fontana, 565 F.3d 1097, 1102
   statutory fee-shifting exceptions to the American         (9th Cir. 2009) (ultimate reasonableness of the fee
   Rule, and sometimes by both. See Staton, 327 F.3d         "is determined primarily by reference to the level of
   at 972; see also Court A warded Attorney Fees,




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   success achieved by the plaintiff'). Thus, where the    between size of fund and percentage awarded for
   plaintiff has achieved "only limited success,"          fees is that "in many instances the increase in re-
   counting all hours expended on the litigation-even      covery is merely a factor of the size of the class and
   those     reasonably    spent-may       produce   an    has no direct relationship to the efforts of counsel"
   "excessive amount," and the Supreme Court has in-       (internal quotation marks omitted)).
   structed district courts to instead "award only that
   amount of fees that is reasonable in relation to the                        b. Application
   results obtained." Hensley, 461 U.S. at 436, 440.          i. Calculation of a reasonable lodestar amount
                                                                 At the time Class Counsel filed declarations
        *7 Where a settlement produces a common            supporting their request for fees, they had calcu-
   fund for the benefit of the entire class, courts have   lated their lodestar of approximately $1,396,523.75
   discretion to employ either the lodestar method or      from a total of 2,560.7 hours of work. Since the fil-
   the percentage-of-recovery method. In re Mercury        ing of their declarations, Class Counsel have expen-
   Interactive Corp., 618 F.3d 988, 992 (9th Cir.          ded an unknown number of hours seeking approval
   2010) (citing Powers v. Eichen, 229 F.3d 1249,          of the Settlement, administering the Settlement, and
   1256 (9th Cir. 2000)). Because the benefit to the       assisting Class Members. Class Counsel also claim
   class is easily quantified in common-fund settle-       (and the Court accepts) that they will continue to
   ments, the Ninth Circuit has allowed courts to          assist Class Members with individual inquiries,
   award attorneys a percentage of the common fund         oversee the claims resolution process, and will help
   in lieu of the often more time-consuming task of        resolve Class Member challenges to the result of
   calculating the lodestar. Applying this calculation     their claims submissions. Thus, it is likely that the
   method, courts typically calculate 25% of the fund      "final" lodestar calculation will be based on more
   as the "benchmark" for a reasonable fee award,          than 2,560.7 hours.
   providing adequate explanation in the record of any
   "special circumstances" justifying a departure. Six          Exhibits I through I 0 to Docket No. 74 of Rose
   (6) Mexican Workers v. Ariz. Citrus Growers, 904        are declarations submitted by each of the 10 law
   F.2d 130 I, 1311 (9th Cir. 1990); accord Powers,        firms who represent the Class and support Class
   229 F.3d at 1256-57; Paul, Johnson, Alston & Hunt       Counsel's request for fees.
   v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989).
                                                                                I. Billing rates
        Though courts have discretion to choose which           The Court finds that the billing rates for part-
   calculation method they use, their discretion must      ners, associates, and paralegals are reasonable.
   be exercised so as to achieve a reasonable result.      Paralegal rates fall between $100 per hour and $305
   See In re Coordinated Pretrial Proceedings, 109         per hour, which is an ordinary range.
   F.3d 602, 607 (9th Cir. 1997) (citing In re Wash.
   Pub. Pmver Supp~y Sys. Sec. Litig., 19 F.3d 1291,             Associates billed at the following rates: two as-
   1294--95 n. 2 (9th Cir. 1994)). Thus, for example,      sociates from Meyer Wilson Co., LPA at $325 per
   where awarding 25% of a "megafund" would yield          hour, one associate from Terrell Marshall Daudt &
   windfall profits for class counsel in light of the      Willie PLLC at $525 per hour, and two associates
   hours spent on the case, courts should adjust the       from Lieff Cabraser Heimann & Bernstein, LLP at
   benchmark percentage or employ the lodestar meth-       $435 and $465 per hour. One attorney, who held
   od instead. Six Mexican Workers, 904 F.2d at 1311;      the titles of both Law Clerk and Contract Attorney,
   see In re Prudential Ins. Co. America Sales Prac-       billed at $325 per hour. Only the $525 per hour rate
   tice Litig. Agent Actions, 148 F.3d 283, 339 (3d Cir.   appears high, but not unusually so, particularly in
   1998) (explaining that basis for inverse relationship   light of the fact that the associate billing at that rate
                                                           is a 2004 law school graduate.




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        *8 Partners FN" billed at rates between $350         tlement administration, and 90 hours were spent in
   per hour and $775 per hour. The partners' rates gen-      client management (figures are estimated and roun-
   erally line up with their experience. Two of the          ded down).FNJ
   three highest-billing partners, Jonathan D. Selbin
   and Douglas J. Campion, represented the Class dur- - ·-           FN3. Because Terrell Marshall Daudt &
   ing the preliminary approval hearing and the final                Willie PLLC did not divide their hours by
   approval hearing, and appeared to have roles of au-               category, the Court took the total reported
   thority amongst Class Counsel. Mr. Selbin and Mr.                 hours and divided them evenly among each
   Campion, along with the other partners billing                    category.
   above $600 per hour, all have significant experi-
   ence to justify their high billing rates.                      The 800 hours in settlement negotiations and
                                                             mediation stands out as particularly excessive. Rep-
          FN2. For purposes of this discussion, the          resentative counsel for all firms participated in
          Court defines "Partners" as those attorneys        three full-day mediations before Judge Infante. In
          who hold the title of Partner, Of Counsel,         the Court's experience, there is little reason why so
          Owner, or Manager, or are solo practition-         many attorneys would need to be present during the
          ers.                                               mediation sessions. Rather, lawyers on the same
                                                             side often find it more efficient to prepare their ne-
                     2. Hours spent                          gotiating position in advance, then delegate a small
       Upon review of the billing submissions, the           number of attorneys to execute. Furthermore, no
   Court finds that Class Counsel included an unreas-        reasonable client would approve 800 hours of firm
   onable number of hours in their lodestar calcula-tion.    time to complete the tasks under this category, es-
                                                             pecially at these rates. The Court therefore reduces
        Class Counsel filed separate declarations, one       the number of hours billed under this category to 400.
   for each law firm, that go into varying amounts of
   detail as to how time was spent. For the most part,             In addition, much of the work done prior to set-
   each law firm divided their hours spent into the cat-     tlement negotiations and mediation was duplicative,
   egories of: Initial case investigation, motions prac-     despite Class Counsel's claims that they used best
   tice, discovery, settlement negotiations and medi-        efforts to avoid duplicative work. Much of the work
   ations, drafting settlement and motion for approval       done in the initial case investigation, motions prac-
   papers, and overseeing settlement administration.         tice, and discovery was redundant, made necessary
   Saeed & Little, LLP included an additional cat-           only by the particular litigation strategy Class
   egory entitled client management. Every law firm          Counsel chose to pursue.
   except for Terrell Marshall Daudt & Willie PLLC
   specified how many hours were spent in each cat-               The Court notes that the instant settlement re-
   egory. Terrell Marshall Daudt & Willie PLLC spe-          solves six separate actions, all seeking to hold De-
   cified only the total number of hours spent.              fendants liable for allegedly making automated
                                                             phone calls in violation of the TCPA. The first
       Of the total 2,560.7 hours accrued, 390 hours         case, Rose, was filed on May 16, 20 II, by Douglas
   were spent in initial case investigation, 200 hours       J. Campion and Anthony J. Trepel. Thereafter, the
   were spent in motions practice, 600 hours were            remaining five cases followed throughout 20 II
   spent in discovery, 800 hours were spent in settle-       through 2013. This is typical in class actions in-
   ment negotiations and mediations, 300 hours were          volving large, nationwide classes where the defend-
   spent in drafting the settlement agreement and the        ant's allegedly unlawful conduct occurred over a
   motions for approval, 180 hours were spent in set-        particular time period, or where the defendant's




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   conduct was revealed by a source such as a news                    ent that Ramirez focuses on automated
   story or an investigative report. In such cases, once              calls made to Bank of America, N.A.'s
   the unlawful conduct is uncovered, plaintiffs attor-               mortgage customers only, a review of the
   neys essentially race to the courthouse to avoid los-              Complaint shows that Ramirez sought to
   ing their lawsuit to the "first-to-file" rule.FN 4                 certify a class consisting of credit card cus-
                                                                      tomers, consumer and business loan cus-
           FN4. The "first-to-file" rule is a "generally              tomers, home mortgages, and "all other
           recognized doctrine of federal comity                      persons whom Defendant or its affiliates
           which permits a district court to decline                  dialed (or mis-dialed). I4-CV-217 5-EJD,
           jurisdiction over an action when a com-                    Docket No. I.
           plaint involving the same parties and is-
           sues has already been filed in another dis-               FN6. Although the moving papers repres-
           trict." Pacesetter Systems, Inc. v. Medtron-              ent that Johnson focuses on automated
           ic, Inc., 678 F.2d 93, 95-96 (9th Cir. I982)              calls made to Bank of America, N.A.'s
           (citations omitted).                                      mortgage customers, a review of the Com-
                                                                     plaint shows that Johnson was actually
         *9 In the typical scenario, the first-to-file rule          filed against Bank of America Corporation,
   would serve as a deterrent for plaintiffs attorneys               and it sought to certify a class consisting of
   to initiate a lawsuit that is "substantially similar" to          "all persons within the United States who
   one that is already in litigation. See Best W. Int'l,             received any telephone call from Defend-
   Inc. v. Mahroom, 2007 WL I302749, at *2, n. I                     ant ... " I4-CV-2177-EJD, Docket No. I.
   (D.Ariz. May 3, 2007) (finding, in the context of
   the first to file rule, lawsuits "need only be substan-         Class Counsel should not be compensated for
   tially similar and not exactly identical[ ]"). Here,       pre-mediation work completed in Duke and John-
   the first case, Rose, focused on FIA Card Services         son because the cases are "substantially similar" to
   and Bank of America Corporation's practices with           Rose and Ramirez. Normally, the Court would ex-
   regard to credit card customers. Ramirez, filed on         pect that Duke and Johnson would never have been
   August 3I, 20 II, focused on any automated calls to        filed due to the first-to-file rule. Or, if the sub-
   Bank of America, N.A.'s customers.FN> Duke,                sequent filers were unaware of Rose and Ramirez,
   filed on July 30, 2012, focused on calls to all De-        Defendants would have moved (likely successfully)
   fendants' credit card and mortgage customers, as           to have Duke and Johnson dismissed. In fact, De-
   well as all other customers affected by these prac-        fendants filed a motion to dismiss the Duke action
   tices (the instant settlement, of course, resolves         based on the first-to-file rule. However, the parties
   only claims regarding mortgage and credit card cus-        stipulated to removing Defendants' motion from the
   tomers). Johnson, filed on December 29, 20II, fo-          calendar to engage in mediation.
   cuses on any automated calls to Bank of America
   Corporation's customers. FN 6 Makin, filed on                   What is unusual here is that the attorneys who
   March 27, 20I2, focuses on individuals in Indiana,         filed Duke and Johnson had previously worked to-
   Illinois, or Wisconsin who received a prerecorded          gether with the attorneys who filed Rose and
   call after the called party had filed a Chapter I3         Ramirez, in Arthur v. Sallie Mae, 10-CV I98-JLR
   bankruptcy or otherwise demanded that the calls            (W.D.Wash.), another TCPA class action settle-
   cease. Bradshaw, filed on February 22, 2013, fo-           ment. In other words, the attorneys who filed these
   cuses on text messages rather than calls to cellular       four cases were not at arm's length. From the
   telephones.                                                Court's perspective, Class Counsel appear to have
                                                              coordinated their efforts from very early on in the
           FN5. Although the moving papers repres-            proceedings, perhaps deliberately selecting a litiga-




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   tion strategy whereby Defendants would be over-           costs expended by Class Counsel of $64,365.14.
   whelmed by attacks on several fronts and con-             Prior to the Court's reduction of the lodestar, the
   sequently forced to negotiate from a weaker posi-         lodestar cross-check using Class Counsel's calcu-
   tion. As a result, Class Members are asked to pay         lated lodestar would have produced a multiplier of
   the costs of litigating six separate actions with a       5.34. Using the reduced lodestar of $927,507.30, a
   total of 18 attorneys and 8 paralegals. As explained      $8,020,976 award would now result in a multiplier
   in the following section, the results achieved in the     of 8.65.
   litigation do not justify such an expense.
                                                                  The Court compared a number of TCPA class
        Accordingly, the Court reduces the number of         action settlements in which attorneys from the in-
   hours in the lodestar calculation by the number of        stant case participated: in Grannan, 2012 WL
   hours logged in Duke and Johnson prior to settle-         216522, a granted request for 25% of the Settle-
   ment negotiations and mediation: 560 hours. In ad-        ment Fund reflected a multiplier of 1.47. In Adams
   dition to the 400 hour reduction discussed above,         v. AllianceOne, inc., 08-CV-248-JAH (S.D.Cal.
   the Court reduces the lodestar by 960 hours. Since        Sept. 28, 20 12), a granted request for 30% of the
   the initial calculation of 2,560.7 hours does not in-     Settlement Fund reflected a multiplier of 3.81. In
   clude time spent by Class Counsel after the instant       Arthur v. Sallie Mae, inc., 10-CV-198-JLR
   motions were filed, the Court adds I 00 hours to the      (W.O. Wash.), a granted request for 20% of the Set-
   final total. Therefore, the lodestar calculation is ad-   tlement Fund reflected a multiplier of2.59.
   justed to reflect a total of 1,700.7 hours of work, at
   the prior-calculated blended billing rate of $545.37,          However, Class Counsel point to several cases
   resulting in a final lodestar of $927,507.30.             in which multipliers higher than 5.34 were ap-
                                                             proved. See Vizcaino, 290 F.3d at I 052 appx. (9th
        *10 As a sidenote, the Court notes that Class        Cir. 2002) (collecting cases); see also Steiner v.
   Counsel's choice of involving I 0 different law           Am. Broad Co., Inc., 248 Fed.Appx. 780, 783 (9th
   firms in this matter introduced other inefficiencies.     Cir. 2007) (approving multiplier of 6.85).
   Of the 2,560.7 hours reported in the declarations,
   I ,670.8 hours were billed by attorneys with rates of          The 25% benchmark rate is a starting point for
   more than $500 per hour, leaving only 889.9 hours         analysis. Vi:::caino, 290 F.3d at 1048. Selection of
   billed by attorneys/paralegals with rates of $500 per     the benchmark or any other rate must be supported
   hour or less. Few clients would stand for such an         by findings that take into account all of the circum-
   inefficient allocation of time. However, the Court        stances of the case. id. Thus, a high multiplier such
   believes that its reduction of the hours logged in        as 8.65 might be justified if supported by the cir-
   Duke and Johnson prior to mediation should, at            cumstances of the case. Class Counsel have identi-
   least in part, compensate for this factor. No further     fied the following factors as supporting their re-
   reduction is necessary.                                   quest for fees.

                    ii. Percentage method                                       1. Results achieved
        Under Ninth Circuit law, the district court has           The results obtained for the class are generally
   discretion in common fund cases to choose either          considered to be the most important factor in de-
   the percentage-of-the-fund or the lodestar method.        termining the appropriate fee award in a common
   Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047          fund case. See Hensley, 461 U.S. at 435. Class
   (9th Cir. 2002).                                          Counsel argue that this factor, standing alone, sup-
                                                             ports their fee request. The Court disagrees.
       Class Counsel seek 25% of the Settlement
   Fund, which amounts to $8,020,976, inclusive of               The Settlement Agreement provides both mon-




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   etary relief and prospective relief. Class Counsel       Defendants changed their systems to reflect the bor-
   estimated, at the time they filed the instant motions,   rower's prior express consent means very little in
   that claimants will receive an average recovery of       the context of this lawsuit. "Prior express consent"
   between $20 to $40. Of course, it is unlikely that a     under the TCP A is a term of art with an unsettled
   settlement would result in claimants receiving the       meaning. In fact, this lawsuit centers around the
   full $500 or $1,500 per violation they might be en-      question of whether Defendants' or Plaintiffs' defin-
   titled to under the TCPA. Even so, the $20 to $40        ition of "prior express consent" should prevail. De-
   range falls in the lower range of recovery achieved      fendants have maintained throughout this action,
   in other TCPA class action settlements. For ex-          and the related actions, that they have always had
   ample, in Grannan, 2012 WL 216522, each class            their customers' prior express consent.
   member received between $300 to $325. 1n Malta
   v.     Fed.     Home      Loan      Mortg.     Corp.,         Class Counsel were questioned during the final
   10-CV-1290-BEN (S.D.Cal.), after final approval,         approval hearing as to whether Defendants would
   each of the 120,547 claimants that made a timely         change their definition of prior express consent.
   and valid claim as well as the 103 claimants that        Class Counsel confirmed that Defendants would
   made a late claim received the sum of $84.82. In         not. The "prospective relief' touted by the Settle-
   Kramer v. B2Mobile, 10--CV2722-CW (N.D.Cal.),            ment Agreement merely provides that Defendants
   each claimant was to be paid $100, but subject to a      will not call anyone unless Defendants had that per-
   pro-rata reduction based on the maximum amount           son's prior express consent. But because Defendants
   of the fund, and it was unclear from the final ap-       continue to use the same definition of "prior ex-
   proval order how much money each claimant actu-          press consent," it would appear that most, perhaps
   ally received. The monetary relief in this case,         all, Class Members will continue receiving auto-
   however, lines up with that achieved in Arthur v.        mated calls. Because the primary goal of this litiga-
   Sallie Mae, where each claimant was estimated to         tion, as described by Class Counsel, was to put an
   receive between $20 and $40.                             end to these phone calls, the touted relief falls short
                                                            and is of particular concern.
        *11 Furthermore, the Court questions the
   "prospective relief' provided by the Settlement               The non-monetary relief achieved here is par-
   Agreement, which is described as such: "The Set-         ticularly nominal in comparison to non-monetary
   tlement focuses on prospective practice changes de-      relief achieved in other TCPA class action settle-
   signed to protect Settlement Class Members from          ments. For example, in Grannan, the defendant
   receiving automated calls in the future. Specific-       agreed to a one-year injunction whereby the de-
   ally, in consideration for the Settlement and in re-     fendant would "scrub" their automated dialing lists
   sponse to the Complaints filed in the Actions, De-       of cell phone numbers, and agreed not to call those
   fendants developed and implemented significant           numbers using an automated dialing system. ln Ar-
   enhancements to its servicing systems that are de-       thur v. Sallie Mae, the defendants agreed not to
   signed to prevent the calling of a cell phone unless     make calls to the cell phones of class members who
   a loan servicing record is systematically coded to       submitted forms revoking their consent in conjunc-
   reflect the borrower's prior express consent to call     tion with their claim forms. In Kramer v. B2Mobile,
   his or her cell phone."                                  defendants agreed to a four-year injunction
                                                            whereby they agreed to keep documented proof of
        The Court was concerned that the prospective        prior express consent received from cell phone
   relief would not be of any benefit to consumers be-      owners. As part of the injunction, defendants
   cause it would not prevent Defendants from con-          agreed that, prospectively, prior express consent
   tinuing to call Class Members. The mere fact that        would require an affirmative action on the part of




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   the customer such as clicking a box saying "I Ac-                       4. Contingency rationale
   cept." In addition, the claim forms in this settlement         The Ninth Circuit has long recognized that the
   contained an option that class members could select       public interest is served by rewarding attorneys
   in order to remove their cell phone number from           who assume representation on a contingent basis to
   defendants' calling lists. However, the prospective       compensate them for the risk that they might be
   relief achieved in the instant case appears the same      paid nothing at all for their work. ln re Washington
   as the prospective relief achieved in Malta v. Fed.       Pub. Power Supply Sys. Sec. Litig., 19 F.3d at 1299
   Home Loan Mortg. Corp.                                    ("Contingent fees that may far exceed the market
                                                             value of the services if rendered on a non-
        Because the results achieved here are not            contingent basis are accepted in the legal profession
   "exceptional" in the context of other TCP A class         as a legitimate way of assuring competent repres-
   action settlements, and in fact are on the lower end      entation for plaintiffs who could not afford to pay
   of the scale, this factor does not support the grant-     on an hourly basis regardless whether they win or
   ing of a high multiplier.                                 lose."); Vizcaino, 290 F.3d at 1051 (courts reward
                                                             successful class counsel in contingency cases "for
               2. Risk of continuing litigation              taking the risk of nonpayment by paying them a
         "The risk that further litigation might result in   premium over their normal hourly rates").
   Plaintiffs not recovering at all, particularly a case
   involving complicated legal issues, is a significant            The Court is not fully convinced that the con-
   factor in the award of fees." ln re Omnivision Tech-      tingency rationale lends much support to Class
   nologies, lnc., 559 F.Supp.2d 1036, 1046-47               Counsel's fee request. Class Counsel, for the most
   (N.D.Cal. 2008); see also Vizcaino, 290 F.3d at           part, have a great deal of experience litigating
   I 048 (risk of dismissal or loss on class certification   TCP A class actions and presumably would "know
   is relevant to evaluation of a requested fee).            how to pick a winner." Furthermore, Class Coun-
                                                             sel's apparent strategy of filing numerous small, re-
        *12 Class Counsel argues that there was a sig-       lated cases, with a few attorneys working on each,
   nificant risk because the issue of prior express con-     hedges against the the risk of recovering nothing
   sent is an open question and that the Court may not       for their work. For example, if Rose and Ramirez
   have adopted Class Counsel's view. If not, the            had looked unpromising, Class Counsel could
   Court may have denied a motion to certify the class.      simply have chosen not to file Duke, Bradshaw,
                                                             Makin, and Johnson. This strategy also puts heavy
       The Court agrees that this factor supports the        pressure on defendants to settle the case early. Fi-
   requested fee.                                            nally, because the TCP A has the potential of ruin-
                                                             ous financial liability ($500 or $1 ,500 per violation,
                    3. The skill required                    and some defendants are accused of millions of vi-
         The "prosecution and management of a com-           olations), defendants will almost always settle if
   plex national class action requires unique legal          there is any merit at all to the case. This factor does
   skills and abilities" that are to be considered when      not support the requested fee.
   evaluating fees. Omnivision, 559 F.Supp.2d at 1047
   (citation omitted).                                                     iii. Conclusion as to fees
                                                                 The relevant factors do not justify an award of
         The Court agrees that this factor supports the      25% of the common fund, nor do they justify a high
   requested fee; Class Counsel are experienced TCPA         lodestar multipler such as 5.34 or 8.65. A lower
   litigators and clearly have a wealth of experience in     multiplier is still warranted, however; the Court
   this area. This factor supports the requested fee.        does not mean to imply that Class Counsel achieved




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   nothing nor that they took no risk in bringing these      (N.D.Cal.)
   actions against Defendants. Class Members still re-
   ceive monetary compensation for their statutory in-       END OF DOCUMENT
   juries and were unlikely to have filed suit on their
   own. The Court determines that a multiplier of 2.59
   is appropriate (the same multiplier awarded in Ar-
   thur v. Sallie Mae, where many of the same attor-
   neys were present, similar arguments were made,
   FN 7 and similar results were achieved).



          FN7. In both the instant case and Arthur v.
          Sallie Mae, the parties disagreed over the
          interpretation of the FCC's January 4, 2008
          declaratory ruling addressing prior express
          consent in the context of creditor-debtor
          relationships (In the Matter of Rules &
          Regulations Implementing the Tel. Con-
          sumer Prot. Act of 1991, 23 F.C.C. Red.
          559 (2008)). The plaintiffs in both cases
          argued that prior express consent is
          deemed to be granted only if the cell phone
          number be provided during the loan's ori-
          gination. Defendants in both cases argued
          that prior express consent could be given at
          any time during the life of the loan.

       *13 A 2.59 multiplier applied to the
   $927,507.30 lodestar results in a total fee award of
   $2,402,243.91 (inclusive of costs).

         Finally, the requested $2,000 award to each of
   the seven named Plaintiffs is fair and reasonable,
   falling squarely in line with incentive awards gran-
   ted in other cases.

   IV. CONCLUSION
       After consideration of the above, the Court
   GRANTS the motion for final approval of settle-
   ment, and GRANTS IN PART AND DENIES IN
   PART the motion for attorney's fees and costs.

       IT IS SO ORDERED


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